Case 2:18-cv-13834-SRC-CLW Document 37 Filed 02/06/19 Page 1 of 1 PageID: 1127




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                   :
                                                   :
   In re OPKO HEALTH, INC. SECURITIES              :        Civil Action No. 18-13834 (SRC)
   LITIGATION,                                     :
                                                   :
                                                   :                    ORDER
                                                   :

 CHESLER, District Judge

        This matter having come before the Court upon various motions for appointment as lead

 plaintiff in this putative class action; and certain motions having been withdrawn; and the

 movants that had filed the remaining motions having not opposed the appointment of the Amitim

 Funds as Lead Plaintiff; and the Court having granted the motion filed by the Amitim Funds and

 appointed the Amitim Funds as Lead Plaintiff by Order dated February 4, 2019 (ECF 36);

 therefore

        IT IS on this 5th day of February, 2019,

        ORDERED that the motions for appointment as lead plaintiff docketed at ECF 11, 13,

 14, 16, and 17 be and hereby are DISMISSED.



                                                         s/Stanley R. Chesler
                                                       STANLEY R. CHESLER
                                                       United States District Judge
